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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION




 GLOBAL GROUND AUTOMATION, INC.,

             Plaintiff,                 Civil Action No. 6:15-cv-0002 [RWS] [JDL]

 v.

 ORISSA HOLDINGS, LLC, GROUND
 MANAGEMENT HOLDINGS, LLC,
 individually and dba GROUNDSPAN and
 GROUNDWIDGETS,

             Defendants.




                                NOTICE OF APPEAL
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        Notice is hereby given that Plaintiff Global Ground Automation Inc. hereby appeals to

 the United States Court of Appeals for the Federal Circuit from the final judgment entered in this

 action on December 2, 2015.

 Dated: December 30, 2015                     Respectfully submitted,


                                              /s/ Nicholas Brown
                                              Mary-Olga Lovett
                                              Texas State Bar No. 00789289
                                              Email: lovettm@gtlaw.com
                                              Pamela A. Ferguson
                                              Texas State Bar No. 24059743
                                              Email: fergusonp@gtlaw.com
                                              GREENBERG TRAURIG, LLP
                                              1000 Louisiana Street, Suite 1700
                                              Houston, Texas 77002
                                              Telephone: (713) 374-3541
                                              Facsimile: (713) 754-7541

                                              Nicholas A. Brown
                                              California Bar No. 198210 (admitted EDTX)
                                              Email: brownn@gtlaw.com
                                              GREENBERG TRAURIG, LLP
                                              4 Embarcadero Center, Suite 3000
                                              San Francisco, CA 94111
                                              Telephone: 415.655.1300
                                              Facsimile: 415.707.2010

                                              John P. Ward
                                              Email: wardj@gtlaw.com
                                              GREENBERG TRAURIG, LLP
                                              1900 University Ave., 5th Floor
                                              East Palo Alto, CA 94303
                                              Telephone: (650) 328-8500
                                              Facsimile: (650) 325-8508

                                              Douglas R. McSwane, Jr.
                                              Texas Bar No. 13861300
                                              dougmcswane@potterminton.com
                                              E. Glenn Thames, Jr.
                                              Texas Bar No. 00785097
                                              glennthames@potterminton.com
                                              Daniel A. Noteware, Jr.
                                              State Bar No. 24051123


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                                    dannynoteware@potterminton.com
                                    POTTER MINTON, a Professional Corporation
                                    110 N. College Ave., Suite 500
                                    Tyler, Texas 75702
                                    Telephone: (903) 597-8311
                                    Facsimile: (903) 593-0846




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                                CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who have consented to electronic service and
 are being served with a copy of this document via the Court’s CM/ECF system per Local Rule
 CV- 5(a)(3) on December 30, 2015. All other counsel of record will be served by U.S. first-class
 mail on this same date.


                                                 /s/ Nicholas Brown.
                                                 Nicholas Brown




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